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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA,

Criminal No. 1:03-cr-400

FELIPE VALERIO PLASENCIA,

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)
)
Vv. )
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)
)
Defendant. )

)

MEMORANDUM OPINION

 

THIS MATTER comes before the Court on Defendant’s Emergency
Motion for Compassionate Release for Extraordinary and
Compelling Circumstances pursuant to 18 U.S.C. § 3582(c) (1) (A).

In November of 2003, Defendant, Felipe Valerio Plasencia,
pleaded guilty to multiple felonies. One count Possession with
Intent to Distribute Cocaine, in violation of 21 U.S.C. ¢
841(a) {1}, one count Possession of a Firearm in Furtherance of a
Drug Trafficking Crime, in violation of 18 U.S.C. § 924(c), and
one count Possession of a Firearm by a Convicted Felon, in
violation of 18 U.S.C. § 922(g)(1). On February 6, 2004, this
Court sentenced Defendant to 300 months in prison and a three-
year term of supervised release. Defendant has now served a
little more than seventeen years of his sentence, but still has

more than five years remaining before his expected release date.
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As required by statute, Defendant exhausted his
administrative remedies prior to bringing his motion to this
Court. Defendant first made a request for compassionate release
to the Warden at Moshannon Valley Correctional Institute. The
Warden denied this request on May 13, 2020. This process
satisfied 18 U.S.C. § 3582(c) (1) (A)’s exhaustion requirement and
Defendant’s Motion for Compassionate Release is properly before
this Court.

The Court finds that Defendant has not provided any
“extraordinary and compelling reasons” that justify a term
reduction under 18 U.S.C. § 3582(c) (1) (A). To show that COVID-19
presents a sufficient justification for release, defendants must
prove (1) a “particularized susceptibility” to COVID-19, and (2)
a “particularized risk” of contracting COVID-19. United States
v. White, No. 2:07crl50, 2020 WL 1906845, at *1 n.2 (E.D. Va.

Apr. 17, 2020) (quoting United States v. Feiling, 2020 WL

 

1821457, at *7 (E.D. Va. Apr. 10, 2020)). The Defendant bears

the burden of proving both elements. Schaffer ex rel. Schaffer

 

v. Weast, 546 U.S. 49. 56-57 (2005). In this case, the Defendant
fails to meet this burden.

First, the Defendant has failed to prove that he is
particularly susceptible to the dangers of COVID-19. The
Defendant is sixty-one years old with a history of hypertension,

hepatitis C, and fluctuating blood pressure. He also currently

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has conditions that place him at greater risk of suffering a
heart attack. Without more, these conditions do not support a
finding that the Defendant is particularly susceptible to COVID-
19.

The CDC keeps a running list of conditions which place
persons at an increased risk of severe illness from COVID-19.
Defendant’s age places him in a greater risk category than
younger individuals, but the CDC states that the greatest risks
are posed to those aged eighty-five or higher. See Centers for
Disease Control and Prevention, “People Who Are at Higher Risk
of Severe Illness,” http: //www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-at—-higher-risk.html (Last
updated June 25, 2020). Considering the significantly lower risk
to persons who are fifty-eight to sixty-four years. old,
Defendant’s age does not make him particularly susceptible to
hospitalization upon infection.

Defendant’s other conditions also do not show that COVID-19
would pose a particular danger to Defendant. Defendant’s risk of
a heart attack does not qualify under the CDC guidelines as a
serious heart condition. Other heart conditions, such as heart
failure, coronary artery disease, cardiomyopathies, and
pulmonary hypertension create a greater likelihood of
hospitalization. See “Centers for Disease Control and

Prevention, “Coronavirus Disease 2019: People with Certain
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Medical Conditions,” https: //www/cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html
(Last updated Aug. 14, 2020). Risk factors of cardiac arrest do
not fall into this category, so this condition cannot be used to
support a finding of particularized susceptibility.

Defendant does suffer from a history of hypertension (which
is high blood pressure and should be distinguished from
pulmonary hypertension which is high blood pressure in the
lungs). This condition, along with Defendant’s Hepatitis C,
could possibly lead to negative effects if he were to contract
COVID-19. However, the CDC includes hypertension and Hepatitis C
only as conditions that “might” put Defendant at an “increased
risk for severe illness from COVID-19[.]” Id. Even though it is
possible that these conditions could place Defendant at a
greater risk of severe illness if he contracted COVID-19, the
CDC does not provide concrete support that these conditions make
Defendant particularly susceptible.

Furthermore, the record shows that Defendant’s conditions
have been managed while at Moshannon. He regularly takes
medication for each of his conditions and they are being
controlled. Nothing indicates that these conditions have
worsened over the course of Defendant’s incarceration at
Moshannon. The successful management of Defendant’s health

conditions and the lack of clear CDC statements showing that
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these conditions make the Defendant particularly susceptible to
COVID-19 cut against a finding that Defendant has demonstrated
extraordinary and compelling reasons that justify his release.

Second, even if Defendant had offered sufficient evidence
to prove a particularized susceptibility, Defendant has not
shown that his current incarceration at Moshannon creates a
“particularized risk” that he will contract COVID-19. Moshannon
currently has zero inmates testing positive for COVID-19.
Additionally, Moshannon is implementing the Bureau of Prisons’
modified operations plan which attempts to reduce the amount of
contact between inmates and isolate any inmates who show
symptoms consistent with COVID-19. Defendant argues that the
lack of testing at Moshannon is the only reason the number of
positive cases is still zero. However, Defendant has not
provided any evidence of cases within the facility. This Court
cannot make a finding of particularized risk based on pure
speculation.

Even if the number of cases at Moshannon is greater than
zero, the record does not support a finding that Defendant’s
release plan provides any additional protection against
contracting the virus. Defendant would be released to either
Queens, New York or the Dominican Republic. Both of these
locations have several thousand confirmed COVID-19 cases.

Release to either location would pose a similar risk to any
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speculative number of cases at Moshannon. The Court finds no
basis to assume that the Defendant is less likely to contract
COVID-19 following the release plan than he is to contract the
virus while incarcerated at Moshannon. Speculation about the
safety of one area versus another cannot be used to demonstrate
extraordinary and compelling reasons that justify release. See

United States v. White, 2020 WL 3442171, at *6 (E.D. Va. June

 

23, 2020).

Beyond the general dangers of living in close quarters, the
Defendant has not shown that his current incarceration creates a
particularized risk that he will contract COVID-19.

Even if Defendant could show a particularized
susceptibility to the virus and a particularized risk of
contracting the virus at Moshannon, the statutory sentencing
factors weigh against granting the Defendant’s motion for
compassionate release. Compassionate release is an extraordinary
remedy and is only appropriate when a defendant does not pose a
danger to the community. U.S.S.G 1B1.13(2).

Defendant was convicted of multiple serious felonies. 21
U.S.C. § 841(a) (1); 18 U.S.C. § 924(c); 18 U.S.C. § 922(g) (1).
Defendant entered this jurisdiction possessing multiple
narcotics, including over eighty-six grams of cocaine which he
intended to distribute. Defendant also brought a firearm with

him which he could not legally own based on his illegal

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immigration to the United States and his past’ felony
convictions. These acts, combined with Defendant’s status as a
career offender, counsel against granting Defendant’s request
for compassionate release.

Based on the statutory sentencing factors, this Court finds
that the Defendant poses a danger to the community. Releasing
Defendant now when he still has multiple years left on his
prison sentence would not serve Congress’s goals of deterrence
and public safety.

For the foregoing reasons, the Court finds that Defendant
has not provided extraordinary or compelling reasons’ for
compassionate release as required by 18 U.S.C. §

3582 (c) (1) (A) (i). An appropriate order shall issue.

Ceotecle. rn. Acbte.,

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
September 79, 2020
